KAREN L. LOEFFLER
United States Attorney

GARY M. GUARINO
Assistant U.S. Attorney
222 West Seventh Avenue, #9
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-2344
E-mail: gary.guarino@usdoj.gov
Alaska Bar No. 8209092

Attorney for Defendant

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA


JACLYN CABALES AND JONATHAN                   Case No. 4:14-cv-00013-JWS
CABALES,
          Plaintiffs,
                                              MEMORANDUM IN
      v.                                      SUPPORT OF
                                              UNITED STATES’
ALBERT E. MORGAN, D.C., ARCTIC                MOTION TO DISMISS
CHIROPRACTIC BETHEL, LLC, and                 CLAIMS FOR DAMAGES
CHRISTOPHER F. TWIFORD, D.C.,                 AGAINST THE
           Defendants,                        UNITED STATES FOR
                                              FAILURE TO FILE A CLAIM
      v.                                      UNDER 28 U.S.C 2401(b)
UNITED STATES OF AMERICA,
           Third-Party Defendant.

      The United States moves, pursuant to Fed. R. Civ. Pro. 12(b)(1) and (6),

to dismiss any claims for damages or monetary recovery against the United

States due to Plaintiffs’ failure to file a timely claim under 28 U.S.C. 2401(b).




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United States v. Kubrick, 444 U.S. 111, 115-25 (1979); Hensley v. United

States, 531 F.3d 1052, 1056-57 (9th Cir. 2008). Third-Party Plaintiff Arctic

Chiropractic Bethel (hereinafter “ACB”) filed a third-party Complaint for

“apportionment of damages” to the United States 1 under AS 09.17.080. [Dkt.

1-2] While ACB may be entitled to seek apportionment of fault to the United

States under AS 09.17.080, Plaintiffs are time-barred from obtaining any

monetary award or judgment against the United States. 28 U.S.C. 2401(b);

Stingley v. Raskey, 1995 WL 696591 (D.Alaska 1995). To allow a monetary

judgment against the United States on the basis of ACB’s third-party claim

would violate the United States’ sovereign immunity and the required time for

commencing tort claims against the United States under 28 U.S.C. 2401(b);

Stingley, 1995 WL 696591 at *7.

                         PROCEDURAL HISTORY

      On March 6, 2013, Plaintiffs filed a Complaint in state court against

ACB, Albert Morgan (“Morgan”) and Christopher Twiford (“Twiford”). [Dkt.

12-2, 12-3] On their “Case Description” form, Plaintiffs indicated that their

Complaint was for “Medical Malpractice.” [Dkt. 12-5] In their Complaint

Plaintiffs alleged the following facts:


1
  ACB’s Complaint named the Yukon Kuskokwim Health Corporation (YKHC) and
the United States was substituted as defendant for YKHC. [Dkt. 8]
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            On April 2, 2011, Defendants Morgan and ACB
            provided chiropractic care to Plaintiff Jaclyn
            Cabales (“Cabales”). During Morgan’s chiropractic
            manipulation of Cabales’ neck, Morgan damaged
            Cabales’ right vertebral artery. [Dkt. 12-2, ¶¶ 9-10]
            Cabales began vomiting, became dizzy, and started
            to lose her vision. Morgan saw Cabales’ sudden
            onset of symptoms and he suspected that she
            suffered an aneurysm. [Dkt. 12-2, ¶¶ 11-12] 2

            Cabales was taken to YKHC’s ER but Morgan did
            not tell the YKHC doctors about the recent
            manipulation of Cabales’ neck, her sudden onset of
            symptoms, or Morgan’s concern that Cabales’ might
            have suffered an aneurysm. Cabales was so sick
            that it affected her ability to communicate with the
            YKHC health care providers and the YKHC doctors
            assumed that she had the flu and sent her home.
            [Dkt. 12-2, ¶¶17-18]

            On April 4, 2011, Cabales returned to the YKHC
            ER because her symptoms persisted. The YKHC
            doctor realized the seriousness of Cabales’ condition
            and ordered a medevac to Anchorage. During the
            departure preparation or the transport, Cabales
            suffered a seizure. When she arrived at the Alaska
            Native Medical Center in Anchorage, her pupils
            were dilated and fixed and she was not responsive.
            [Dkt. 12-2, ¶¶ 19-20]

            Morgan’s negligent chiropractic care, including the
            neck manipulation, caused a stenosis [abnormal
            narrowing] of Cabales’ right vertebral artery and
            she suffered two strokes in her brain. On April 5,
            2011, Cabales’ doctors drilled a hole in her skull to
            alleviate the fluid pressure on her brain.

2
  For purposes of this motion to dismiss, the United States assumes arguendo that
Plaintiffs’ factual allegations are true.
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            On April 6, Cabales had an MRA [Magnetic
            Resonance Angiogram] verifying that she had a 90%
            stenosis of her vertebral artery. [Dkt. 12-2, ¶¶
            21-23]

      Based on these alleged events and injuries, Plaintiffs’ March 2013

Complaint asserted claims for medical malpractice, negligence, and/or

recklessness against ACB, Morgan, and Twiford (the alleged operator of ACB).

[Dkt. 12-2, ¶¶ 3, 5, 26-50] One of Plaintiffs’ primary claims was that Morgan

and Twiford failed to disclose to the YKHC ER doctors Cabales’ chiropractic

manipulation, her sudden onset of symptoms, and Morgan’s concern that she

suffered an aneurysm. Plaintiffs claimed that the Defendants’ failure to

disclose this information, when Cabales was initially taken to YKHC on April

2, 2011, caused the YKHC doctors to diagnose the flu and to send Cabales

home. It was not until April 4, when Cabales returned to YKHC, that the ER

doctor allegedly realized the seriousness of her condition and ordered a

medevac. [Dkt. 12-2, ¶¶ 17-19, 33, 43] Plaintiffs claimed that this alleged

two-day delay in diagnosis and treatment caused them to suffer injuries that

would not otherwise have occurred including pain, suffering, emotional

distress, disfigurement, physical impairment, and bodily injury. [Dkt. 12-2,

¶¶ 17-20, 33-35, 43-45]

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      On November 20, 2013, ACB filed a Motion for Leave to File a

Third-Party Complaint against YKHC in state court. [Dkt. 14-7] The

motion was granted on January 21, 2014 and ACB filed its third-party

Complaint. [Dkt. 15-7] ACB’s third-party Complaint alleged: that on April

2, 2011, the YKHC ER doctors diagnosed Cabales with gastroenteritis and

sent her home, that this diagnosis was incorrect and that Cabales actually

suffered from two strokes, that on April 4, 2011, Cabales returned to YKHC

and she suffered a seizure, and that YKHC’s “failure to properly evaluate,

diagnose, and treat” Cabales on April 2, caused her alleged injuries and

damages in this case. ACB asserted a claim for “Apportionment of Damages”

against YKHC under AS 09.17.080. [Dkt. 15-7, ¶¶ 6-24]

      On June 23, 2014, the United States removed the state court action to

this Court pursuant to the Federal Tort Claims Act. 28 U.S.C. §§2671-80.

[Dkt. 1] The United States was then substituted as the Third-Party

Defendant for YKHC. [Dkt. 8]

      Plaintiffs did not file a tort claim with the appropriate federal agency

(Department of Health and Human Services) under 28 U.S.C. 2401(b) or a

complaint against the United States in federal district court.

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                               ARGUMENT

       The United States has sovereign immunity from suits except to the

extent that it has consented to be sued. United States v. Sherwood, 312 U.S.

584, 590 (1941). Congress granted a waiver of immunity for certain tort

actions against the United States went it enacted the Federal Tort Claims Act

(AFTCA@). 28 U.S.C. '' 1346, 2671-80; Hensley, 531 F.3d at 1056. The timely

filing of a claim against the United States is a condition of its waiver of

immunity under the FTCA. Kubrick, 444 U.S. at 117; Stingley, 1995 WL

696591 at *7. The FTCA provides that a tort claim against the United States

“shall be forever barred” unless it is presented to the appropriate federal

agency within two years after the claim accrues. 28 U.S.C. '2401(b).

      In medical malpractice actions, the claim accrues and the two-year

limitations period begins to run when a plaintiff knows or has reason to know

the existence of her injury and its cause. Kubrick, 444 U.S. at 122-23;

Hensley, 531 F.3d at 1056; see Herrera-Diaz v. United States, 845 F.2d 1534,

1537 (9th Cir. 1988) (the limitations period starts to run when a plaintiff has

discovered, or in the exercise of reasonable diligence should have discovered,

both her injury and its cause.). The accrual of a claim does not require that

the plaintiff know that her injury may have been caused by negligent conduct.



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Hensley, 531 F.3d at 1056. Where the plaintiff knows, or should reasonably

know, the facts about her injury she can protect herself by seeking advice in

the legal and medical community regarding the appropriate standards of

medical care and whether her treatment conformed to those standards. To

excuse her from promptly doing so, by postponing the accrual of her claim,

would undermine the purpose of the limitations statute, which is to require

the diligent presentation of tort claims against the government. Kubrick, 444

U.S. at 123-24; Hensley, 531 F.3d at 1056; Herrera-Diaz, 845 F.2d at 1536.

      Plaintiffs knew, or reasonably should have known, the alleged facts

regarding Cabales’ injuries and cause of her injuries in April 2011. Plaintiffs

were aware that Cabales suffered an alleged injury on April 2, 2011, since they

claim that she became ill and began experiencing vomiting, dizziness, and loss

of vision immediately after her chiropractic treatment (neck manipulation) by

Morgan at ACB. That same day, Plaintiff Jonathan Cabales went to ABC to

attend his wife and allegedly experienced shock and severe distress at seeing

her suffering, pain, and fear regarding her condition. [Dkt. 12-2, ¶¶ 9-12, 15]

Plaintiffs were aware that Cabales was taken to the YKHC ER on April 2 and

that the YKHC doctor allegedly thought she had the flu and sent her home.

[Dkt. 12-2, ¶¶ 17-18]



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      Plaintiffs knew and claim that on April 4, 2011, they returned to YKHC

because Cabales’ symptoms from April 2 had persisted. They were aware

that the YKHC doctor determined that Cabales’ condition was serious and

that the doctor ordered a medevac to Anchorage. [Dkt. 12-2, ¶19] They

knew and allege that Cabales suffered a seizure, that she was intubated, and

that when she arrived in Anchorage her pupils were dilated and fixed and she

was not responsive. [Dkt. 12-2, ¶20] They claim that on April 5, the doctors

drilled a hole in Cabales’ skull to alleviate the fluid pressure on her brain. By

April 6, Cabales had an MRA allegedly confirming that she had a stenosis

(90%) of her vertebral artery, and by this date she allegedly had suffered two

strokes in her brain. [Dkt. 12-2, ¶¶ 21-24]

      Further, by April 6, 2011, Plaintiffs knew, or reasonably should have

known, that Cabales’ alleged injury and condition on April 2 (stenosis of her

vertebral artery allegedly causing two brain strokes) was different from and

more serious than the “flu diagnosis” that the YKHC doctors made during her

visit on April 2. Plaintiffs were aware that Cabales’ condition allegedly

persisted and got worse from her initial visit to YKHC on April 2 to her return

visit and medevac on April 4. [Dkt. 12-2, ¶¶ 19-20] In their Complaint,

Plaintiffs claimed that the alleged two-day delay in Cabales’ diagnosis and



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treatment caused them to suffer additional serious injuries. [Dkt. 12-2, ¶¶

17-20, 33-35, 43-45] Whether Plaintiffs knew or believed that the YKHC

doctors were negligent in their April 2 diagnosis and treatment (as ACB now

claims) is irrelevant, as a matter of law. This “knowledge” (or lack thereof)

does not stay the accrual of Plaintiffs’ claims or the running of the limitations

period for their potential tort claims against the United States. 28 U.S.C.

2401(b); Kubrick, 444 U.S. at 123-24; Hensley, 531 F.3d at 1056.

      Thus, Plaintiffs’ potential tort claims accrued in April 2011 and the

limitations period for any claims against the United States expired in April

2013. Plaintiffs did not file a claim with the appropriate federal agency and

they did not file a lawsuit against the United States. They are time-barred

from asserting any claims or obtaining any recovery against the United States

because they failed to file a timely claim under 28 U.S.C. 2401(b). Kubrick, 444

U.S. at 117; Stingley, 1995 WL 696591 at *7.

      Finally, ACB’s filing of a third-party claim against the United States for

“apportionment of fault” under AS 09.17.080, does not waive the FTCA

limitations period for Plaintiffs’ tort claims against the United States.

Plaintiffs’ failure to file a claim within the two-year limitations period under

the FTCA bars them from obtaining any monetary judgment against the



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United States. 28 U.S.C. 2401(b); Stingley, 1995 WL 696591 at *7. Whatever

the legal or factual merits are regarding ACB’s third-party claim for

“apportionment of fault,” it does not create or resurrect any claim or liability

as between the Plaintiffs and the United States under the FTCA.

                                                CONCLUSION

         For the reasons set out above, the United States asserts its sovereign

immunity and respectfully requests that the Court grant this motion and

enter an order dismissing any claims for damages or monetary relief against

the United States in this action.

         RESPECTFULLY SUBMITTED, on October 16, 2014, in Anchorage,

Alaska.

                                                       KAREN L. LOEFFLER
                                                       United States Attorney

                                                       s/Gary M. Guarino
                                                       GARY M. GUARINO
                                                       Assistant U.S. Attorney
                                                       Attorney for the Defendant
CERTIFICATE OF SERVICE

I hereby certify that on October 16, 2014,
a copy of the foregoing MEMORANDUM
IN SUPPORT OF MOTION TO DISMISS
CLAIMS FOR DAMAGES AGAINST THE
UNITED STATES FOR FAILURE TO FILE
CLAIM UNDER 28 U.S.C 2401(b) was served
electronically on:

Myron Angstman                Robert Campbell
Michael J. Hanson             John P. Cashion
Dennis E. Boyle

s/ Gary M. Guarino
Office of the U.S. Attorney
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